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                          IN THE UNITED STATES DISTRICT
                        COURT FOR THE NORTHERN DISTRICT
                           OF ILLINOIS EASTERN DIVISION


  HAINAN CHANGYUAN TECHNOLOGY
  CO., LTD.,                                           Case No. 1:24-cv-08087

                 Plaintiff,                            Honorable Sunil R. Harjani

  v.                                                   Magistrate Judge the Honorable
                                                       Sheila M. Finnegan
  PARTNERSHIPS AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON
  SCHEDULE “A”,

                 Defendants.


                          NOTICE OF VOLUNTARY DISMISSAL



 Pursuant to FRCP 4(a)(1)(A)(i), Plaintiff hereby inform this Court that Defendant

 Mebon Tech
 _______________________                8
                         (Defendant No. _____)      Amazon
                                               with ______________ seller ID no.
A2IMW7TM5DYHI1
 _________________, identified in Schedule A of the Complaint, and Plaintiff have reached

 Settlement. Plaintiff hereby voluntarily dismisses Defendant from this dispute, each party to

 bear its own fees, costs, and expenses.



       31 October 2024
 Dated ____________________                                 Respectfully Submitted:



                                                            ________________________

                                                            Robert M. DeWitty
                                                            DeWitty and Associates
                                                            Attorney, Plaintiff
                                                            Email rmdewitty@dewittyip.com
                                                                  admin@dewittyip.com
                                                            Tele: 202-571-7070
                                                            Fax: 202-513-8071
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                                CERTIFICATE OF SERVICE



       The undersigned certifies that a true and correct copy of the above and foregoing

                                     31 October 2024
document was electronically filed on _______________________ with the Clerk of Court

using the CM/ECF system, which will automatically send an email notification of such filing

to all registered attorneys of record.



                                                         ____________________________

                                                          Robert M. DeWitty
